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 7 Attorney(s) for Plaintiffs
   General Charles E. “Chuck” Yeager (Ret.) and
 8 General Chuck Yeager, Inc.

 9                                   UNITED STATES DISTRICT COURT

10                   CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION

11
     CHARLES E. YEAGER, et al.                                   Case Number: 8:19-CV-01793-JLS-ADS
12
                               Plaintiff(s),                     JOINT RULE 26(f) REPORT
13
     vs.                                                         Assigned to: Hon. Josephine L. Staton
14
     AIRBUS GROUP SE, et al.                                     Scheduling Conference: March 20, 2020
15                                                               Time: 10:30am
                               Defendant(s).                     Courtroom: 10-A
16

17

18

19              Plaintiffs and Defendants Airbus Helicopters, Inc. and AIRBUS U.S. Space & Defense,

20 Inc. (formerly known as Airbus Defense and Space, Inc.) (collectively referred to herein as

21 “Defendants”) in the above-entitled captioned action hereby submit the following Joint Rule
                 1
22 26(f) Report:

23              a)     Statement of the case

24              Plaintiffs’ Statement:

25              This case concerns common law and statutory claims for violation of right of publicity,

26 trademark infringement, and breach of contract. Plaintiff General Charles E. “Chuck” Yeager

27         1
           Plaintiffs’ counsel was in Washington, D.C. for an argument before the United States Court of Appeal for the
28   District of Columbia on March 6, 2020 and was unable to access a computer to efile this Joint Report on that date
     and thus did so on March 9, 2020 upon returning to his office. Plaintiffs’ counsel apologizes for the short delay.
                                                             1

               REPORT OF THE PARTIES’ 26(f) CONFERENCE AND PROPOSED DISCOVERY PLAN
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 1 (Ret.) (“General Yeager”) is a retired pilot and general, renowned for breaking several air speed

 2 records and for his distinguished military and civilian aviation career. Plaintiff General Chuck

 3 Yeager, Inc. (“GCYI”) is a corporation that is jointly owned and operated by General Yeager.

 4 Defendants are various wholly owned entities of multinational aircraft conglomerate Airbus

 5 Group, S.A.S.

 6          Plaintiffs and Defendants had numerous contacts prior to Plaintiffs filing the present
 7 action, dating back to 2008. Defendants arranged for General Yeager to attend various Airbus

 8 promotional events, including a visit to Airbus facilities in Munich, Germany, and Toulouse,

 9 France. to fly the Airbus A380 aircraft and to give a presentation to Airbus employees.

10 Defendants filmed a video of General Yeager’s presentation, under General Yeager’s explicit

11 terms that the video would only be used internally and that Defendants were not permitted to

12 use the video sale, advertising, or any promotional purpose (the “Video”). In or about 2012,

13 General Yeager was informed by an employee of an Airbus entity of the existence of an Airbus

14 sales video incorporating footage from the Video.

15          Subsequent to the General Yeager’s presentation, Defendants engaged in extended
16 negotiations with General Yeager for a potential endorsement deal, including using General

17 Yeager’s name in press releases, but Defendants declined to accept General Yeager’s fee

18 requirement. Despite not reaching an agreement with General Yeager to procure his

19 endorsement, Defendants caused the following statement by Airbus Helicopters S.A.S. CEO

20 Guillaume Faury to be published and distributed in the DuPont Registry on June 26, 2017:

21          “Seventy years ago, [American test pilot] Chuck Yeager broke the sound barrier,” said
22 Guillaume Faury, CEO of Airbus Helicopters, at the Racer announcement press conference.

23 Now, he said, “we’re trying to break the cost barrier. It cannot be ‘speed at any cost.’”

24          Plaintiffs assert that the unauthorized reproduction and distribution of the Video and the
25 unauthorized publication of the Statement constitute an infringement of General Yeager’s right

26 of publicity, false endorsement, infringement of Plaintiffs’ trademarks, breach of contract, and

27 unjust enrichment.

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          REPORT OF THE PARTIES’ 26(f) CONFERENCE AND PROPOSED DISCOVERY PLAN
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 1          Defendants’ Statement:
 2          Plaintiffs allege that, on June 20, 2017, “Airbus” published a statement on the
 3 Airbus.com website that referenced Plaintiff Chuck Yeager. The statement refers to a high-

 4 speed helicopter concept “Racer”––an acronym for rapid and cost-effective rotorcraft––being

 5 developed by Airbus Helicopters as a part of a “European Commission-organised public and

 6 private partnership to develop and demonstrate civil aircraft technologies that can reduce

 7 emissions and noise, while also ensuring the future competitiveness of Europe’s aviation

 8 industry on a global scale.” The part of the statement to which Plaintiffs object makes a factual

 9 reference to General Yeager having broken the sound barrier in the 1940s:

10                  Seventy years ago, [American test pilot] Chuck Yeager broke the sound
                    barrier,” said Guillaume Faury, CEO of Airbus Helicopters, at the Racer
11                  announcement press conference. Now, he said, “we’re trying to break the cost
                    barrier. It cannot be ‘speed at any cost.’
12
            The statement   quotes comments made by Mr. Faury at the Paris Air Show in June 2017.
13
     At the time, Mr. Faury was the Chief Executive Officer of Airbus Helicopters S.A.S., a French
14
     company with its registered office in Marignane Cedex, France. Airbus Helicopters S.A.S. is
15
     not a defendant in this action. The registrant for the Airbus.com website, which is a passive
16
     website through which no business can be transacted, is Defendant Airbus S.A.S., another
17
     French company with its registered office in Blagnac, France. To date, Plaintiffs have not
18
     served a summons and complaint on Airbus S.A.S.
19
            The Complaint also alleges that nearly a decade earlier, in 2008, Yeager had been
20
     invited by “Airbus” to visit “Airbus” facilities in Munich, Germany and Toulouse, France so
21
     that “Airbus” could “honor him and have him speak to and inspire Airbus employees….”
22
     Plaintiffs allege that, during this visit to Germany and France, Yeager flew an Airbus A380,
23
     which is a large, fixed-wing airplane. Plaintiffs allege that Yeager agreed that a video of his
24
     appearance could be made “so that those employees who could not attend the meeting could
25
     watch it at a later date, and that “Airbus” agreed that no other use of the video would be made
26
     absent an agreement between “Airbus” and Yeager. Plaintiffs allege that in 2012 an “Airbus
27
     employee” told them that he saw a video showing how much Yeager liked the A380.
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          REPORT OF THE PARTIES’ 26(f) CONFERENCE AND PROPOSED DISCOVERY PLAN
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 1          In addition to Airbus S.A.S., the Complaint names Airbus Group SE, now known as
 2 Airbus SE, which is a European public company with its registered office in Amsterdam,

 3 Netherlands. Plaintiffs also have not served this defendant with a summons and complaint.

 4          Plaintiffs have named, and served, two different Airbus entities: Defendants Airbus
 5 Helicopters, Inc., a Delaware corporation with its principal place of business in Grand Prairie,

 6 Texas, and AIRBUS U.S. Space & Defense, Inc. (formerly known as Airbus Defense and

 7 Space, Inc.), a Delaware corporation with its principal place of business in Herndon, Virginia.

 8 Because there are no allegations in the Complaint that either of these companies have had

 9 anything to do with Plaintiffs’ claims, let alone Plaintiffs’ claims and this forum, these

10 defendants have filed a motion to dismiss for lack of personal jurisdiction and a motion to

11 dismiss for failure to state a claim for relief. Plaintiffs’ claims regarding the alleged video also

12 are time-barred, which is a further basis for Defendants’ motion to dismiss for failure to state a

13 claim for relief.

14          b)      Legal issues
15          The key legal issues in this case are Plaintiffs’ claims for violation of right of
16 publicity, false endorsement, trademark infringement, breach of contract, and unjust

17 enrichment. Defendants contend that they are not subject to personal jurisdiction in this Court

18 based on Plaintiffs’ claims and that Plaintiffs do not have viable claims against them, both on

19 the merits and because certain of Plaintiffs’ alleged claims are time-barred.

20          c)      Damages
21          Plaintiffs allege that provable damages are realistically in excess of one million
22 ($1,000,000) dollars.

23          d)      Insurance
24          There is no insurance coverage relevant to this action.
25          e)      Motions
26          Defendants have filed a motion to dismiss on the grounds that this court does not have
27 personal jurisdiction over them and that the First Amended Complaint (“FAC”) does not

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          REPORT OF THE PARTIES’ 26(f) CONFERENCE AND PROPOSED DISCOVERY PLAN
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 1 sufficiently allege any conduct by the Defendants upon which relief can be sought. In addition,

 2 Defendants contend that certain of Plaintiffs’ claims are time-barred.

 3          f)      Complexity
 4          Not applicable.
 5          g)      Status of Discovery
 6          Parties have not made any initial disclosures, nor have Parties conducted any discovery.
 7          h)      Discovery Plan
 8                  Plaintiffs’ Position:
 9          Plaintiffs intend to serve standard written discovery including requests for production of
10 documents, requests for admissions, and interrogatories in March and April 2020. Plaintiffs will

11 conduct discovery regarding Defendants’ internal marketing practices to help establish the

12 substantive claims, and regarding Defendants’ profits to establish damages. Plaintiffs and

13 Defendants shall be limited to no more than ten depositions, respectively, as provided in Rule

14 30(a)(2)(A)(i), including non-party witnesses and testifying expert witnesses. A Rule 30(b)(6)

15 deposition, for purposes of the limit on the number of depositions, is treated as a single

16 deposition even though more than one person may be designated to testify if the entire Rule

17 30(b)(6) deposition lasts less than seven hours. Each additional seven hours of Rule 30(b)(6)

18 deposition time, or any fraction thereof, shall constitute an additional deposition that counts

19 towards the ten-deposition limit provided in this action. Parties do not anticipate any special

20 issues regarding electronically store information, privileged materials, change to limitations on

21 discovery, or protective orders.

22          Plaintiffs propose the following discovery deadlines:
23          March 24, 2020                  Rule 26(a)(1) initial disclosures are due.
24          September 11, 2020              Last day to complete all written fact discovery and depose
25                                          all fact witnesses.
26          September 18, 2020              Deadline to serve opening expert reports on issues for
27                                          which party bears the burden of proof at trial.
28          November 13, 2020               Deadline to serve rebuttal expert reports.
                                                      5

          REPORT OF THE PARTIES’ 26(f) CONFERENCE AND PROPOSED DISCOVERY PLAN
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 1          November 27, 2020              Last day to complete expert witness discovery
 2          Defendants’ Position:
 3          Defendant believes that the Court should defer setting a pre-trial schedule at this time
 4 given the pendency of the motion to dismiss filed by Defendants and Plaintiffs’ failure to have

 5 served two of the defendants in the case. In the event the Court wishes to proceed with setting a

 6 pre-trial schedule at this time, Defendants propose the following discovery deadlines:

 7          March 24, 2020                 Rule 26(a)(1) initial disclosures are due.
 8          November 20, 2020              Last day to complete all written fact discovery and depose
 9                                         all fact witnesses.
10          December 18, 2020              Deadline to serve opening expert reports on issues for
11                                         which party bears the burden of proof at trial.
12          January 22, 2021               Deadline to serve rebuttal expert reports.
13          February 19, 2021              Last day to complete expert witness discovery
14          i)     Expert Discovery
15          Set forth above.
16          j)     Dispositive motions
17          Plaintiffs intend to file a summary judgment motion on the issue of liability. Defendants
18          intend to file a motion for summary judgment.
19          k)     ADR Procedure Selection
20          Plaintiffs elect for ADR Procedure No. 3 (private mediation). Defendants elect ADR
21          Procedure No. 2 (the Court’s Mediation Panel).
22          l)     Settlement Efforts
23          Parties attempted to reach a settlement prior to Plaintiffs’ filing of this action, but such
24 attempts were unsuccessful. Parties have engaged in minimal settlement efforts since the filing

25 of this case and intend to continue to explore settlement options.

26          m)     Preliminary Trial Estimate
27          Plaintiffs anticipate a trial to take five to seven days. Defendants believe a trial of no
28          more than two to three days should be sufficient.
                                                      6

          REPORT OF THE PARTIES’ 26(f) CONFERENCE AND PROPOSED DISCOVERY PLAN
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 1          n)        Trial counsel
 2          Lincoln D. Bandlow will appear as counsel on behalf of Plaintiffs. Douglas A. Winthrop
 3 and Jesse M. Feitel will appear as counsel on behalf of Defendants.

 4          o)        Independent Expert or Master
 5          Not applicable.
 6          p)        Other issues
 7          Plaintiffs contend that this case involves needs to serve and conduct discovery in foreign
 8 jurisdictions, as Plaintiffs may seek discovery of documents in possession of Airbus entities

 9 located in foreign countries, and Plaintiffs may seeks to depose employees of Airbus entities

10 located in foreign countries.

11
                 Dated: March 6, 2020                    /s/ Lincoln Bandlow
12
                                                         Counsel for plaintiffs
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15               Dated: March 6, 2020                    /s/ Douglas Winthrop
16                                                       Counsel for Defendants
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         REPORT OF THE PARTIES’ 26(f) CONFERENCE AND PROPOSED DISCOVERY PLAN
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 1
                                  I.   CASE MANAGEMENT ORDER
 2
            The above JOINT CASE MANAGEMENT STATEMENT & PROPOSED ORDER is
 3
     approved as the Case Management Order for this case and all parties shall comply with its
 4
     provisions. [In addition, the Court makes the further orders stated below:]
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 6
            IT IS SO ORDERED.
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             Dated:
 8
                                                         UNITED STATES DISTRICT COURT JUDGE
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          REPORT OF THE PARTIES’ 26(f) CONFERENCE AND PROPOSED DISCOVERY PLAN
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                           EXHIBIT A
          PROPOSED SCHEDULE OF PRETRIAL AND TRIAL DATES

 CASE NAME:           Charles Yeager v. Airbus

 CASE NO:              8:19 CV 01793 JLS-ADS



                                                        Plaintiff(s)     Defendant(s)
             Matter                   Deadline           Request           Request

  Last Day to File Motions to   Scheduling Conference
  Add Parties and Amend           Date plus 60 days     May 19, 2020     May 19, 2020
  Pleadings

  Fact Discovery                  18 weeks before the
                                                        Nov. 6, 2020     Nov. 20, 2020
  Cut-Off                            Final Pretrial
                                 Conference (“FPTC”)
  Last Day to Serve Initial       16 weeks before the
                                                        Nov. 20, 2020    Dec. 18, 2020
  Expert Reports                        FPTC

  Last Day to File Motions
  (except Daubert and all        16 weeks before the    Nov. 30, 2020    Dec. 18, 2020
  other Motions in Limine)             FPTC

  Last Day to Serve Rebuttal     12 weeks before the
                                                         Dec. 18, 2020    Jan. 22, 2021
  Expert Reports                       FPTC

  Last Day to Conduct             9 weeks before the
                                                         Jan. 8, 2021     Feb. 12, 2021
  Settlement Proceedings               FPTC

  Expert Discovery Cut-Off        8 weeks before the     Jan. 15, 2021    Feb. 19, 2021
                                       FPTC
  Last Day to File Daubert
                                                         Jan. 22, 2021    Feb. 26, 2021
  Motions                         7 weeks before the
                                       FPTC
  Last Day to File Motions in
  Limine (other than Daubert      4 weeks before the     Feb. 12, 2021    March 19, 2021
  Motions)                             FPTC

  Final Pre-Trial Conference                            March 12, 2021    April 16, 2021
  (Friday at 10:30 a.m.)

  Revised: October 1, 2018




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